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                                                                      Tuesday, 20 August, 2019 02:26:35 PM
                                                                               Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

MARLON BILLOPS,                                       )
                                                      )
                              Plaintiff,              )
        v.                                            )      No.: 18-cv-1254-MMM
                                                      )
SUSAN PRENTICE, et al.,                               )
                                                      )
                              Defendants.             )

                                             ORDER

        Plaintiff, proceeding pro se, filed a complaint under 42 U.S.C. § 1983 alleging various

constitutional violations, including excessive force and state-law battery claims against

Defendants Battle, Dyer, Whicker, Maley and Tangman. Defendants have filed an Amended

Motion to stay the proceedings [50] to which Plaintiff has responded and objected. Defendants

reveal that Plaintiff has been criminally charged in state court in Livingston County, Illinois on a

related battery claim for having allegedly struck a Defendant during the events at issue.

Defendants assert that under the Abstention Doctrine identified in Younger v. Harris, 401 U.S.

37, (1971), this Court should stay the federal matter, pending resolution of the state-law criminal

case.

        In support of their motion, Defendants cite Gakuba v. O'Brien, 711 F.3d 751, 753 (7th

Cir. 2013) which held that under Younger, “federal courts must abstain from taking jurisdiction

over federal constitutional claims that may interfere with ongoing state proceedings.” Id. at 753.

“Even though abstention is the exception, not the rule, e.g., Colorado River Water Conservation

Dist. v. United States… a federal court ‘may, and often must, decline to exercise its jurisdiction

where doing so would intrude upon the independence of the state courts.’” Courthouse News




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Serv. v. Brown, 908 F.3d 1063, 1070–71 (7th Cir. 2018) quoting SKS & Associates, Inc. v. Dart,

619 F.3d 674, 678 (7th Cir. 2010) (internal citations omitted).

       Younger was originally applied only in cases where a criminal defendant sought

injunctive relief blocking his state court prosecution. The Supreme Court, however, found that

“in limited circumstances,” Younger also applies to civil proceeding. Id. at 677-78. “The civil

brand of Younger extends only to a federal suit filed by a party that is the target of state court or

administrative proceedings in which the state's interests are so important that exercise of federal

judicial power over those proceedings would disregard the comity between the states and federal

government.” See Id.; Lynch v. Nolan, 598 F. Supp. 2d 900, 903 (C.D. Ill. 2009) citing Simpson

v. Rowan, 73 F.3d 134, 137–39 (7th Cir. 1995) (Younger expanded to include claims for money

damages).

       Under Younger, federal courts are to stay a federal civil action when there are “ongoing

state proceedings that are (1) judicial in nature, (2) implicate important state interests, and (3)

offer an adequate opportunity for review of constitutional claims, (4) so long as no extraordinary

circumstances-like bias or harassment-exist which auger against abstention.” FreeEats.com, Inc.

v. Indiana, 502 F.3d 590, 596 (7th Cir. 2007) (internal citations omitted). Here, Defendants have

established that there are ongoing judicial proceedings in Livingston County, satisfying the first

portion of the test. As to the second, it has been determined that “criminal proceedings clearly

fulfill the first requirement and implicate some of the most important of the state's interests—the

prosecution of violent crimes…”. Horton v. Pobjecky, 12 C 7784, 2013 WL 791332, at *2 (N.D.

Ill. Mar. 4, 2013) (staying federal civil rights action pending resolution of first-degree murder

charges).




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        The third consideration is whether the state court proceedings provide an adequate

opportunity for review of Plaintiff’s constitutional claims. It has been determined that where a

Plaintiff has the opportunity to raise his constitutional claims as a defense to criminal charges,

there is an adequate opportunity for review. Maduko v. Illinois, No. 07-4701, 2008 WL

4279982, at *5 (N.D. Ill. Sept. 17, 2008). Here, Plaintiff may assert his § 1983 claims that he

was battered and subjected to excessive force as a defense to the charges that he battered

Defendant Battles. While Plaintiff may not pursue his claim for money damages in the criminal

case, the Court is merely staying, rather than dismissing, the federal case. As a result, Plaintiff

will have the opportunity to pursue his claims in federal court, pending the outcome of the state

court proceedings. “[W]hen the plaintiff seeks monetary damages in a section 1983 claim-relief

that is unavailable from a state court-then the district court should stay the claim pending the

outcome of the state proceedings. See Id. at 6 (internal citations omitted).

       Where the elements are present, abstention is appropriate “so long as no extraordinary

circumstances-like bias or harassment-exist which auger against abstention.” “Extraordinary

circumstances exist only when: (a) “the state proceeding is motivated by a desire to harass or is

conducted in bad faith,” (b) “there is an extraordinarily pressing need for immediate equitable

relief,” or (c) “the challenged provision is flagrantly and patently violative of express

constitutional prohibitions.” Maduko, 2008 WL 4279982, at *3 quoting Jacobson v. Vill. of

Northbrook Mun. Corp., 824 F.2d 567, 569-70 (7th Cir.1987). As noted, Plaintiff has responded

to Defendants’ motion but does not allege any such extraordinary circumstances.

       The Court, further, finds that abstention is appropriate because a judgment in the federal

claims, if issued prior to the resolution of the state law criminal proceedings, could preempt or

interfere with those state court proceedings. “The rule in Younger ... is designed to permit state



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courts to try state cases free from interference by federal courts.” Forty One News, Inc. v. County

of Lake, 491 F.3d 662, 665 (7th Cir.2007) (internal quotations and citations omitted). See Lynch,

598 F. Supp. 2d at 903 (allowing stay of federal case pending disposition of related state court

criminal charges). See also, Majors v. Engelbrecht, 149 F.3d 709, 714 (7th Cir. 1998). “In this

circuit, abstention from damages suits is proper. That's because a federal damages suit, although

not interfering with the state proceeding to the same degree as an injunction, could beat the state

action to judgment and either undermine, or preclude, the State's consideration of some issues.”

(Internal citations omitted).

IT IS THEREFORE ORDERED:

        1.      Defendants’ Amended Motion to stay the proceedings [50] is GRANTED above

Plaintiff’s objection, [51] which is DENIED.

        2.      The parties are each to advise the Court, within 30 days, of the termination of the

proceedings in Livingston County. The parties are also to indicate whether they intend to appeal

any Livingston County judgment as the federal case will be further stayed pending the resolution

of that appeal. Simpson v. Rowan, 73 F.3d 134, 138 (7th Cir. 1995) (“Younger abstention is

therefore appropriate while the case works its way through the state appellate process.”).




_8/20/2019                                          s/Michael M. Mihm
ENTERED                                             MICHAEL M. MIHM
                                               UNITED STATES DISTRICT JUDGE




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